Case 0:22-cv-61009-RS Document 22 Entered on FLSD Docket 11/07/2022 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                   CASE NO.: 0:22-cv-61009-RS
 EDGAR QUINTERO,

             Plaintiff,
 v.

 HEALTHCARE REVENUE RECOVERY
 GROUP LLC D/B/A ARS ACCOUNT
 RESOLUTION SERVICES,

          Defendant.
 _______________________________/

       DEFENDANT, HEALTHCARE REVENUE RECOVERY GROUP, D/B/A ARS
        ACCOUNT RESOLUTION SERVICES’ NOTICE OF NON-COMPLIANCE

        COMES NOW, Defendant, Healthcare Revenue Recovery Group, LLC. d/b/a ARS

 Account Resolution Services, by and through their undersigned counsel, hereby notifies the

 Court of Plaintiff, Edgar Quintero’s Non-Compliance with Order Granting Unopposed Motion to

 Withdraw as Counsel (“Order”), ECF No. 20, and in support hereof states:

        1.       On October 3, 2022, the Court entered an Order Granting an Unopposed Motion

 to Withdraw as Counsel for Plaintiff. [ECF No. 20].

        2.       The Order required Plaintiff’s former counsel to provide the Order to Plaintiff

 within two (2) business days and file a Notice of Compliance. Additionally, the Order required

 Plaintiff to retain new Counsel within fourteen (14) days of service or file a notice that he intends

 to proceed without counsel. Id.

        3.       On October 5, 2022, Plaintiff’s former counsel filed its Notice of Compliance

 advising the Court it provided the Order to Plaintiff. [ECF No. 21].
Case 0:22-cv-61009-RS Document 22 Entered on FLSD Docket 11/07/2022 Page 2 of 3




        4.      As of the date of this Notice, Plaintiff, Edgar Quintero has failed to notify the

 Court that he has retained new counsel.

        5.      As of the date of this Notice, Plaintiff, Edgar Quintero has failed to notify the

 Court that he wishes to proceed without counsel.

        6.      Plaintiff was required to notify the Court of new counsel or notify the Court he

 wished to proceed without counsel by October 19, 2022.

        7.      Non-compliance with the Order may result in a recommendation to the district

 Judge that the case be dismissed for lack of prosecution. [ECF No. 20]

        8.      As a result of Plaintiff’s non-compliance, Defendant is unable to further its

 defense in the litigation proceedings.

       WHEREFORE, Defendant, Healthcare Revenue Recovery Group, LLC. d/b/a ARS

 Account Resolution Services respectfully requests this Honorable Court to enter an Order stating

 the case be dismissed for lack of prosecution or enter an order for other relief which the Court

 deems just and proper.


        Dated this 7th day of November 2022.

                                                    Respectfully submitted,

                                                /s/ Ernest H. Kohlmyer, III
                                                Ernest H. Kohlmyer, III




                                                2
Case 0:22-cv-61009-RS Document 22 Entered on FLSD Docket 11/07/2022 Page 3 of 3




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

 November 7, 2022, via the Clerk of Court’s CM/ECF system. I further certify that the foregoing

 has been sent via electronic transmission to the following: Alejandro E. Figueroa, Esquire at

 alejandrof@sulaimanlaw.com and Franklin Jara, Esquire at fjara@sulimanlaw.com (Attorneys

 for Plaintiff).


                                                   /s/ Ernest H. Kohlmyer, III
                                                   Ernest H. Kohlmyer, III
                                                   Florida Bar No.: 110108
                                                   SKohlmyer@shepardfirm.com
                                                   service@shepardfirm.com
                                                   Shepard, Smith, Kohlmyer & Hand, P.A.
                                                   2300 Maitland Center Parkway, Suite 100
                                                   Maitland, Florida 32751
                                                   Phone: (407) 622-1772
                                                   Fax: (407) 622-1884
                                                   Attorneys for Defendant, Healthcare
                                                   Revenue Recovery Group, LLC. d/b/a ARS
                                                   Account Resolution Services




                                               3
